Case 2:19-cv-11419-GCS-PTM ECF No. 55 filed 10/16/20   PageID.371   Page 1 of 2




                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

 NEIL EMERY,

      Plaintiff,
                                         Case No. 19-11419
v.
                                         Hon. George Caram Steeh
ALLEN KORY; ROSCOMMON,
COUNTY OF; and OGEMAW
COUNTY STING TEAM,

     Defendants.
___________________________/

               ORDER ACCEPTING REPORT AND
        RECOMMENDATION AND GRANTING DEFENDANTS’
       MOTIONS FOR SUMMARY JUDGMENT (ECF NOS. 41, 43)

      On September 22, 2020, Magistrate Judge Patricia T. Morris issued a

report and recommendation proposing that the court grant Defendants’

motions for summary judgment. No timely objections have been filed.

      With respect to reports and recommendations from magistrate

judges, this court “shall make a de novo determination of those portions of

the report or specified proposed findings or recommendations to which

objection is made.” 28 U.S.C. § 636(b)(1)(C). The court “may accept, reject

or modify, in whole or in part, the findings or recommendations made by the

magistrate.” Id.


                                       -1-
Case 2:19-cv-11419-GCS-PTM ECF No. 55 filed 10/16/20                PageID.372   Page 2 of 2




      Upon review of the report and recommendation, and having received

no objection, the court agrees with Magistrate Judge Morris’s analysis and

conclusions.

      Therefore, IT IS HEREBY ORDERED that Magistrate Judge Morris’s

report and recommendation (Doc. 54) is ACCEPTED and ADOPTED as

the order of the court.

      IT IS FURTHER ORDERED that Defendants Allen Kory, Roscommon

County, and the Ogemaw County Sting Team’s motions for summary

judgment (ECF Nos. 41, 43) are GRANTED.

Dated: October 16, 2020
                                          s/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE




                                 CERTIFICATE OF SERVICE

                 Copies of this Order were served upon attorneys of record on
                 October 16, 2020, by electronic and/or ordinary mail and also
                    on Neil Emery #443938, Macomb Correctional Facility
                         34625 26 Mile Road, New Haven, MI 48048.

                                       s/Brianna Sauve
                                         Deputy Clerk




                                                -2-
